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5
     Attorney for Defendant
6    FERLANDO CARTER
7
                                       IN THE UNITED STATES DISTRICT COURT
8
                                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                      )   Case No. 2:13-CR-00267 GEB
                                                     )
11                        Plaintiff,                 )   STIPULATION AND [PROPOSED] ORDER TO
                                                     )   CONTINUE SENTENCING HEARING &
12                  vs.                              )   BRIEFING SCHEDULE
                                                     )
13    FERLANDO CARTER, et al.                        )   Date: November 18, 2016
                                                     )   Time: 9:00 a.m.
14                        Defendants.                )   Judge: Hon. Garland E. Burrell
                                                     )
15                                                   )
16             IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
17   Attorney, through, Justin Lee, Assistant United States Attorney, attorney for Plaintiff, and
18   Heather E. Williams, Federal Defender, through Assistant Federal Defender, Douglas J. Beevers,

19   attorney for Ferlando Carter, that the sentencing hearing, currently scheduled for November 18,

20   2016, be continued to December 2, 2016 at 9:00 a.m. The parties further stipulate that the

21   briefing schedule be modified as follows:

22
               The Proposed Presentence Report shall be filed with           10/21/16
23             the Court and disclosed to counsel no later than:

24             Counsel’s written objections to the Presentence               11/4/16
               Report shall be delivered to the Probation Officer and
25             Opposing counsel no later than:
26
               The Presentence Report shall be filed with the Court          11/11/16
27             and disclosed to counsel no later than:

28

     Stipulation to Continue
                                                          -1-
     Sentencing & Briefing Schedule
       Case 2:13-cr-00267-TLN Document 114 Filed 10/11/16 Page 2 of 3


1              Motion for Correction of the Presentence Report shall      11/18/16
               be filed with the Court and served on the Probation
2              Officer and opposing counsel no later than:
3
               Reply, or Statement of Non-Opposition:                     11/25/16
4
               Judgment and Sentencing Date:                              12/2/16
5
               This continuance is necessary to accomplish defense counsel’s need to obtain additional
6
     mitigation evidence in preparation for the sentencing hearing and probation’s need to consider
7
     that evidence and possibly incorporate it into the Presentence Investigation Report. The parties
8
     agree that a date of December 2, 2016 provides enough time to accomplish these ends and
9
     represents the best next date for the sentencing hearing. Probation is aware of this stipulation and
10
     has no objection.
11
     DATED: October 11, 2016                        Respectfully submitted,
12                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
13
                                                    /s/ Douglas J. Beevers
14                                                  DOUGLAS J. BEEVERS
15                                                  Assistant Federal Defender
                                                    Attorney for Ferlando Carter
16
     DATED: October 11, 2016                        PHILLIP A. TALBERT
17                                                  Acting United States Attorney
18                                                  /s/ Justin Lee
                                                    JUSTIN LEE
19
                                                    Assistant U.S. Attorney
20                                                  Attorney for Plaintiff

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     Stipulation to Continue
                                                      -2-
     Sentencing & Briefing Schedule
       Case 2:13-cr-00267-TLN Document 114 Filed 10/11/16 Page 3 of 3


1
                                                   ORDER
2
               IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
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     stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
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     its order. The Court orders that the November 18, 2016 sentencing hearing be continued to
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     December 2, 2016 at 9:00 a.m. and adopts the new PSR schedule as set forth above.
6
               Dated: October 11, 2016
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     Stipulation to Continue
                                                      -3-
     Sentencing & Briefing Schedule
